                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


                                                )
                                                ) Case No. 3:23-md-3071
 IN RE: REALPAGE, INC., RENTAL
                                                ) MDL No. 3071
 SOFTWARE ANTITRUST
                                                )
 LITIGATION (NO. II)
                                                ) This Document Relates to: ALL CASES
                                                )

                                            ORDER

       Based upon the discussion at the status conference on August 7, 2023, the Court terminates

without prejudice the following motions:

       1.     Doc. No. 323 Motion to Dismiss for Failure to State a Claim as to LRO and Against

the LRO Defendants;

       2.     Doc. No. 326 Motion to Dismiss for Lack of Jurisdiction;

       3.     Doc. No. 327 Motion to Dismiss for Lack of Jurisdiction;

       4.     Doc. No. 335 Motion to Dismiss Plaintiffs’ First Amended Consolidated Class

              Action Complaint;

       5.     Doc. No. 337 Moton to Enforce Class Action Waiver;

       6.     Doc. No. 340 Motion to Dismiss for Failure to State a Claim;

       7.     Doc. No. 343 Motion to Dismiss for Lack of Jurisdiction;

       8.     Doc. No. 344 Motion to Dismiss for Failure to State a Claim as to Agency Liability;

              and

       9.     Doc. No. 348 Motion to Stay all Discovery Pending Ruling on Motion to Dismiss.

       Additionally, the Court set the following deadlines:

       1.     On August 11, 2023, Defendants shall file a Notice identifying those Defendants



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           who agree to early mediation;

     2.    No later than September 7, 2023, Plaintiffs shall file a Second Multi-Family

           Amended Consolidated Complaint, and a First Student-Housing Amended

           Consolidated Complaint. There are no substantive limitations on those complaints,

           but they will serve as the final complaints in this action. Also, by this date, the

           parties shall file a Joint Notice identifying who remains in this action and who does

           not;

     3.    By September 21, 2023, Defendants shall identify and briefly describe any new

           motions to dismiss that they anticipate filing with respect to the Multi-Family

           Consolidated Complaint, as well as identify and briefly describe all motions they

           intend to file with respect the Student-Housing Consolidated Complaint;

     4.    Thirty (30) days after the filing of the Amended Consolidated Complaints,

           Defendants shall file their Motions to Dismiss. Replies shall be filed fourteen (14)

           days thereafter;

     5.    The Court tentatively sets a status conference for 10:00 a.m. on September 29,

           2023. By 5:00 p.m. on September 27, 2023, the parties shall file a status report and

           indicate any issues that should be addressed at the conference;

     6.    On December 11, 2023, at 1:00 p.m., the Court will hold either a status conference

           or oral arguments on the Motions to Dismiss; and

     7.    The parties should continue their ongoing discussions regarding ESI, initial

           disclosures, deposition protocols, etc.




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     IT IS SO ORDERED.


                                         ____________________________________
                                         WAVERLY D. CRENSHAW, JR.
                                         CHIEF UNITED STATES DISTRICT JUDGE




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